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                      9
                     10                             UNITED STATES DISTRICT COURT
                     11                            CENTRAL DISTRICT OF CALIFORNIA
                     12
                     13 SECURITIES AND EXCHANGE                   Case No. CV 13-7553-JAK (SSx)
                        COMMISSION,
                     14                                           Date: May 21, 2019
                                    Plaintiff,                    Time: 10:00 a.m.
                     15                                           Ctrm: 590 - 5th Floor
                               v.                                 Judge Hon. Suzanne H. Segal
                     16                                            Magistrate Judge
                        YIN NAN "MICHAEL" WANG,
                     17 WENDY KO, VELOCITY                        FINAL REPORT AND ACCOUNTING
                        INVESTMENT GROUP, INC., BIO               OF RECEIVER, DAVID P.
                     18 PROFIT SERIES I, LLC, BIO PROFIT          STAPLETON
                        SERIES II LLC, BIO PROFIT SERIES
                     19 III, LLC, BIO PROFIT SERIES V, LLC,
                        and ROCKWELL REALTY                       [Notice of Motion and Motion to
                     20 MANAGEMENT, INC.,                         Conclude Receivership; Memorandum of
                                                                  Points and Authorities; Declaration of
                     21                     Defendants.           David Stapleton; Proposed Order; and
                                                                  Final Fee Application submitted
                     22                                           concurrently herewith]
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                      1               TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                      2               PLEASE TAKE NOTICE THAT on May 21, 2019, at 10:00 a.m., in
                      3 Courtroom 590 of the above-entitled Court, located at 255 E. Temple St., Los
                      4 Angeles, CA 90012, David P. Stapleton, the Court-appointed receiver for Velocity
                      5 Investment Group, Inc., Bio Profit Series I, LLC, Bio Profit Series II, LLC, Bio
                      6 Profit Series III, LLC, Bio Profit Series V, LLC, Rockwell Realty Management,
                      7 Inc., and their respective subsidiaries and affiliates (collectively, the "Receivership
                      8 Entities" or "Entities"), will and hereby does present this Final Report and
                      9 Accounting of Receiver (the "Final Report"), in accordance with Local Rule 66-6
                     10 and the Court's prior orders.
                     11 I.            PRELIMINARY STATEMENT.
                     12               Pursuant to the orders by which the Receiver was appointed and the law
                     13 governing federal equity receivers, the Receiver's most significant responsibilities
                     14 during the pendency of the instant receivership case have included:
                     15               (1)   Marshalling and preserving all receivership assets ("Receivership
                     16 Assets" or "Assets"), ultimately resulting in the recovery of $5.3 million for the
                     17 benefit of the Receivership Entities;
                     18               (2)   Disposing of Assets, including marketing and selling a third party loan
                     19 portfolio, securing Court approval for the sale of all residential and commercial
                     20 properties owned by the Receivership Entities, reaching a settlement to resolve
                     21 claims associated with a real property in Oak View, California, and securing the
                     22 return of Assets obtained via an improper levy by the Franchise Tax Board against a
                     23 Receivership Entity;
                     24               (3)   Completing two detailed forensic accountings of Receivership Assets
                     25 and the financial condition of the Receivership Entities;
                     26               (4)   Eliminating Receivership Entity liabilities, including securing the
                     27 dismissal of two actions against the Receivership Entities and satisfying pre-
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                      1 receivership judgment recorded against a number of real properties owned by the
                      2 Receivership Entities;
                      3               (5)   Proposing and securing Court approval for a plan for distribution of
                      4 Receivership Assets;
                      5               (6)   Making a distribution to creditors of the Receivership Entities with
                      6 allowed claims in the amount of $2,977,060.19; and
                      7               (7)   Preparing reports for the Court.
                      8               As reflected in this Final Report and in the concurrently filed Motion for
                      9 Order: (1) Approving Final Report and Accounting; (2) Authorizing Payment of
                     10 Final Fee Applications of Receiver and Professionals; (3) Authorizing Final
                     11 Distribution and Establishing a Reserve; (4) Authorizing Submission of Appropriate
                     12 Tax Returns; (5) Authorizing Abandonment or Destruction of Documents; and
                     13 (6) Closing the Receivership and Discharging and Releasing Receiver (the "Wind-
                     14 Down Motion"), the Receiver has satisfied the duties and obligations established by
                     15 this Court at the inception of this receivership case. Accordingly, the Receiver has
                     16 determined, in his reasonable business judgment, that the costs of continuing the
                     17 receivership now outweigh its benefits. The Receiver accordingly anticipates that
                     18 this will be his final report to the Court.
                     19               This Final Report provides a detailed description of the Receiver's actions
                     20 both during the instant reporting period and throughout the receivership case with a
                     21 summary of the most significant accomplishments of the receivership, along with a
                     22 final, summary accounting reflecting receipts and disbursements for the receivership
                     23 through December 31, 2018.
                     24 II.           GENERAL BACKGROUND.
                     25               The Court and any interested parties are invited to review materials identified
                     26 in Exhibit A attached hereto for a general summary of the relevant facts underlying
                     27 the above-captioned case and the activities of the Receiver and his counsel of
                     28 record, Allen Matkins Leck Gamble Mallory & Natsis LLP ("Professionals"). The
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                      1 identified materials, and more, are available on the Receiver's website,
                      2 www.velocityreceivership.com.
                      3 III.          SUMMARY OF RECEIVER'S ACTIVITIES AND EFFORTS.
                      4               Since the inception of the receivership case, and in connection with his
                      5 responsibilities under the appointment orders, the Receiver has concentrated his
                      6 efforts in the following areas:
                      7               A.       Marshalling and Preservation of Receivership Assets
                      8               The Receiver's principal charge was to marshal and preserve Receivership
                      9 Assets for the benefit and administration of the Receivership Entities, and for
                     10 distribution to defrauded investors and others whose claims were ultimately allowed
                     11 by the Court. In order to accomplish this, and as further detailed below, the
                     12 Receiver undertook an extensive document recovery, review, and analysis effort
                     13 (including of tens of thousands of documents and records obtained from the
                     14 Commission and various third parties, including banks, public entities, investors,
                     15 and other creditors), ultimately resulting in two forensic accounting reports, and the
                     16 marshalling of over $5.3 million in cash and other Receivership Assets, all of which
                     17 have now been monetized for the benefit of the estate of the Receivership Entities
                     18 (the "Receivership Estate"). The sources of the Receiver's recoveries included:
                     19                      Recoveries of cash Assets from bank accounts;
                     20                      Sale of a Receivership Entity loan portfolio;
                     21                      Rents collected directly from tenants of residential real property Assets;
                     22                      Sale of 26 real property Assets;
                     23                      Funds paid over by third-party property managers responsible for
                     24                        collecting rents;
                     25                      Funds paid over by residential loan borrowers and loan servicers;
                     26                      Funds received from settlement of claims associated with the pre-
                     27                        receivership fraudulent transfer of real property; and
                     28                      Interest on receivership balances.
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                      1               All told, during the pendency of the receivership, the Receiver recovered a
                      2 gross amount of $5.3 million for the benefit and administration of the Receivership
                      3 Entities. The Receiver's final summary accounting reflecting receipts and
                      4 disbursements for the receivership through December 31, 2018 is attached as
                      5 Exhibit B.
                      6               B.    Disposition Of Real Property Receivership Assets.
                      7               As reflected in the Court's prior orders, the Receiver was authorized to market
                      8 and prepare assets and real properties owned by the Receivership Entities for sale.
                      9 The following is a summary of the Receiver's disposition of receivership assets:
                     10                     1.     Loan Portfolio Owned by the Receivership Entities.
                     11               The Receivership Entities owned a pool of loans made to various homeowner
                     12 third parties, secured by junior or subordinated interests in real estate. Given the
                     13 nature of these loans and the limited documentation available to the Receiver, the
                     14 Receiver engaged diligent efforts to dispose of the loans, initially contemplating
                     15 either a discounted payoff to borrowers or a sale of the entire pool to a third party
                     16 buyer. Ultimately, the Receiver elected to market and sell the loan portfolio because
                     17 he was unable to negotiate discounted payoffs with borrowers. The sale of the loan
                     18 portfolio closed, resulting in a net return for the benefit of the Receivership Entities
                     19 in the amount of approximately $230,000.
                     20                     2.     Residential Properties Owned by the Receivership Entities.
                     21               During the course of the receivership, the Receiver expended considerable
                     22 effort and diligently engaged in the marketing and sale of 25 residential properties1
                     23 owned by the Receivership Entities. The Receiver successfully marketed these
                     24 residential properties, secured various agreements to purchase from buyers, and
                     25 obtained approval from this Court for the sale of these residential real properties.
                     26 The Receiver's diligent efforts resulted in the sale of all saleable residential property
                     27
                            1
                     28          Residential real properties consisted of several detached single-family dwellings,
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                                 apartment and condominium units, a vacant lot, and several multi-unit properties.
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                      1 which, in the aggregate, yielded net proceeds for the benefit of the Receivership
                      2 Entities in the amount of approximately $2.0 million.
                      3               In addition to the sales of the residential real properties, the Receiver also
                      4 obtained Court approval for the abandonment of two real properties that reflected
                      5 net liabilities to the Receivership Entities.
                      6                     3.     Commercial Real Property Owned by the Receivership Entities.
                      7               The real property located at 26655 Highland Avenue, Highland, California
                      8 (the "Highland Property") remained the most valuable commercial real property
                      9 Receivership Asset for most of the duration of the Receivership. The Highland
                     10 Property was a vacant and abandoned former K-Mart, which suffered from
                     11 significant deferred maintenance and issues with accumulated debris. It was also
                     12 subject to two substantial liens, in the aggregate value of approximately $3 million.
                     13 In addition, the first-position loan on the Highland Property was cross-collateralized
                     14 by two other real properties owned by the Receivership Entities.
                     15               The Receiver worked diligently with the Highland Property's ultimate buyer,
                     16 REAL Journey Academies ("REAL") to successful close the sale of the property.
                     17 Though the closing of the sale was delayed, after substantial effort by the Receiver,
                     18 all outstanding issues associated with sale of the Highland Property were resolved,
                     19 and the sale of the property closed on August 31, 2017. From the sale, the Receiver
                     20 obtained substantial net proceeds, in the amount of $731,721.45, for the benefit of
                     21 the receivership.
                     22                     4.     Ojai Property Settlement.
                     23               As previously reported, at some point in the pre-receivership period, the
                     24 Receivership Entities had an interest in the real property located at 158 Rockaway
                     25 Road, Oak View, California (the "Ojai Property"). However, the Ojai Property was
                     26 not part of the Estate, having been transferred in the pre-receivership period from
                     27 Bio Profit Series I, LLC to Ojai Oakview, LLC ("Ojai Oakview"), an entity at least
                     28 partially controlled by an Entity insider, for no apparent consideration. The
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                      1 Receiver therefore initially determined that the Ojai Property was fraudulently
                      2 transferred to Ojai Oakview.
                      3               The Receiver engaged in extensive discussions and a detailed review of
                      4 public records and materials provided by Ojai Oakview. Ultimately, the Receiver
                      5 determined, in his reasonable business judgment, that it was in the best interest of
                      6 the Receivership Entities to accept a one-time, lump-sum payment in the amount of
                      7 $350,000 from Ojai Oakview to resolve all claims. The Court approved this
                      8 settlement and the funds were collected for the benefit of the Estate.
                      9                     5.     Refund of Monies Improperly Levied by the Franchise Tax
                     10                            Board
                     11               In addition to the real property recoveries, the Receiver also successfully
                     12 secured the return of approximately $21,000 in Receivership Assets obtained via an
                     13 improper levy by the Franchise Tax Board (the "FTB") against a Receivership
                     14 Entity account, and in violation of the Court's orders.2 Specifically, upon discovery
                     15 of the levy, the Receiver and his counsel promptly contacted representatives of the
                     16 FTB to return the funds. The FTB failed to comply with the Receiver's written
                     17 requests and only responded after the Receiver prepared and provided the FTB with
                     18 notice of an anticipated ex parte application for an order to show cause re: sanctions.
                     19 In response to the notice of ex parte, and after meeting and conferring with the
                     20 Receiver's counsel, the FTB ultimately agreed and returned the subject funds.
                     21               C.    Performing An Accounting And Analysis of the Receivership
                     22                     Entities' Financial Activities and Condition.
                     23               The Receiver and his forensic accounting team successfully conducted two
                     24 separate forensic accounting reviews of financial documents related to the business
                     25 and financial activities of the Receivership Entities. The documents reviewed
                     26
                            2
                     27          This levy was imposed notwithstanding the fact that the Receiver, through
                                 counsel, had previously advised the FTB of the Receiver's appointment and
                     28          provided a copy of the appointment orders, with a reference to the self-help bar
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                                 contained therein.
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                      1 included those relating to inter-Entity transfers, the nature of investments, payments
                      2 to investors and other creditors, and a list of assets associated with the Receivership
                      3 Entities.
                      4               The Receiver's preliminary forensic analysis confirmed the following:
                      5                      There was significant commingling of assets among the Entities;
                      6                      The characteristics of a Ponzi-like investment scheme were present,
                      7                        based on the Entities' use of new investor funds to pay outstanding
                      8                        obligations to older investors;
                      9                      The various Receivership Entities were operated as a unitary enterprise;
                     10                        and
                     11                      Of the approximately $155 million contributed by investors, $78
                     12                        million was paid to investors in the form of interest and redemptions
                     13                        and approximately $38 million was paid to apparent insiders or
                     14                        affiliated parties.
                     15               The Receiver later performed a second forensic accounting review that
                     16 confirmed the conclusions drawn from his initial analysis.
                     17               D.       Elimination Of Receivership Entity Liabilities.
                     18               At the time the Receiver was appointed, the Receivership Entities were
                     19 subject to the following litigation and judgment enforcement efforts, all of which
                     20 have since been resolved:
                     21                        1.     The Huntington Capital Litigation.
                     22               Huntington Capital, L.P. ("Huntington") lent $1.5 million, secured by the Ojai
                     23 Property, and later had its security interest subordinated to that of Bio Profit Series I,
                     24 LLC ("BioProfit"). Huntington commenced litigation to reinstate its lien priority,
                     25 only to have its lien extinguished by BioProfit's acquisition and foreclosure of the
                     26 senior-most lien on the property. This resulted in the dismissal of its original state
                     27 court action against BioProfit, and the commencement of the California Court of
                     28
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                      1 Appeal matter styled Huntington Capital, LP v. Autumn Years at Ojai; et al., Case
                      2 No. B252233 (the "Huntington Appeal").
                      3               Contemporaneously with the Huntington Appeal, Huntington commenced the
                      4 action styled Huntington Capital, LP v. Bio Profit Series I, LLC; et al., Ventura
                      5 Superior Court Case No. 2014-00450526-CU-NP-VTA (the "Ventura Action"),
                      6 challenging what it identified as the fraudulent transfer of the Ojai Property and,
                      7 again, seeking more than $1.5 million in damages against certain Receivership
                      8 Entities.
                      9               With the Court's permission, the Receiver successfully resolved both the
                     10 Huntington Appeal and the Ventura Action. Specifically, both matters were
                     11 dismissed with prejudice against the Receivership Entities, with a full release from
                     12 Huntington, in exchange for a one-time, lump-sum payment of $12,000 from the
                     13 Receivership Entities to Huntington. By this settlement, the Receiver obtained the
                     14 release of more than $1.5 million in prospective Receivership Entity liability, and
                     15 successfully leveraged the release to secure the above-described settlement
                     16 regarding the Ojai Property.
                     17                     2.    The Stovall Judgment.
                     18               In or around January 2014, months before the Receiver was appointed,
                     19 Shirley Stovall, a pre-receivership creditor, secured a judgment (the "Stovall
                     20 Judgment") against BioProfit in the amount of $45,684.64, in the action styled
                     21 Stovall v. Bio Profit Series I, LLC; et al., Los Angeles Superior Court Case No.
                     22 BC405576. The Stovall Judgment was recorded against a number of real properties
                     23 owned by the Receivership Entities and was subject to satisfaction upon the sale of
                     24 any Receivership Assets against which it was recorded. With the Receiver's efforts,
                     25 these sales closed and the Stovall Judgment was fully satisfied and released against
                     26 the Receivership Assets.
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                      1                     3.     The Wilmington Trust Litigation.
                      2               The Receiver has satisfied a request for production of documents, pursuant to
                      3 appropriate subpoenas, in the matter styled Liu, et al. v. Wilmington Trust, Co.,
                      4 U.S.D.C. W.D.N.Y. Case No. 6:14-cv-06631-EAW-JWF (the "Liu Action"). The
                      5 Liu Action is a purported class action investor lawsuit against Wilmington Trust
                      6 Company, one of the financial institutions that administered Receivership Entity
                      7 accounts. While neither the Receiver nor any of the Entities are parties to the Liu
                      8 Action, each of the litigants in the matter requested voluminous productions from
                      9 the Receiver, including production of materials containing investor-specific
                     10 information, including social security numbers and other identifiers.
                     11               After confirming that any productions from his office would be designated as
                     12 confidential under an existing protective order in the Liu Action, and being assured
                     13 by counsel for both the Plaintiffs and Defendants in the matter that all fees and costs
                     14 incurred in connection with the production would be reimbursed, the Receiver
                     15 satisfied the request. Wilmington Trust Company has partially reimbursed the
                     16 Receiver for the fees and costs incurred for his efforts.
                     17               E.    The Claims Process and Treatment of Claims.
                     18               At the inception of the receivership, the Entities had few assets of value.
                     19 Nonetheless, the Receiver succeeded in recovering funds sufficient to make a
                     20 distribution on allowed claims of approximately $3 million. To do so, the Receiver
                     21 utilized a list of investors and creditors of the Receivership Entities compiled from a
                     22 variety of sources, including data retrieved from Receivership Entity records and
                     23 correspondence from investors.
                     24               The Receiver concluded that a streamlined process for soliciting and
                     25 evaluating claims from these investors and creditors was appropriate. Accordingly,
                     26 the Receiver developed a summary claims procedure that involved: (1) establishing
                     27 a claims bar date; (2) soliciting the submission of claims from Receivership Entity
                     28 investors and creditors well in advance of the claims bar date; (3) processing timely
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                      1 claims and developing a recommendation for the treatment of claims; and
                      2 (4) submitting the Receiver's recommendation for the treatment of each claim by
                      3 noticed omnibus motion to the Court for approval (the "Claims Procedures
                      4 Motion"). The Court granted the Receiver's Claims Procedures Motion on March 8,
                      5 2017. In accordance therewith, a claims bar date was set for May 26, 2017.
                      6               Ultimately, 1,122 timely investor and non-investor claims were submitted to
                      7 the Receiver requesting payment of more than $99 million. The Receiver
                      8 commenced an initial review of the claims to ensure that they were complete, not
                      9 duplicative of claims submitted by other persons or entities, and supported by
                     10 documentation appropriate to the nature of the claim. The Receiver then prepared a
                     11 claims summary that identified each claimant, each claimant's net claim amount, the
                     12 Receiver's recommended treatment of each claim, and any information uniquely
                     13 relevant to each claim (the "Claims Summary").
                     14               As noted above, the Receiver then secured Court approval of his
                     15 recommended treatment of claims, proposal for allowance and disallowance of
                     16 claims, and proposed allowed claim amounts as specifically set forth in the
                     17 Receiver's Claims Summary. The Court authorized the Receiver to make a one
                     18 time, pro rata distribution in the aggregate amount of $2,922,637.98 for all allowed
                     19 investor claims. The Court also approved the Receiver's recommendation for
                     20 allowance and disallowance of specified non-investor creditor claims, and
                     21 authorized the Receiver to make a one-time, pro rata distribution in the amount of
                     22 $54,422.21 for the non-investor claim submitted by Huntington Capital, L.P.
                     23               In addition, the Receiver recently received additional tax refunds in the
                     24 amount of approximately $168,000 associated the previous sale of real properties
                     25 out of receivership. Given the amount received and the anticipated costs of case
                     26 administration through the conclusion of this receivership, the Receiver believes it is
                     27 appropriate to establish a reserve and make a final distribution to investors and
                     28 creditors on the terms as proposed in the Wind-Down Motion.
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                      1               F.    Preparing Reports For The Court.
                      2               Prior to this Final Report, the Receiver prepared and filed a total of six
                      3 interim reports. Each report provided a summary of the Receiver's performance of
                      4 his duties under the appointment orders and identified key developments during the
                      5 applicable reporting period. The Interim Reports also summarized the Receiver's
                      6 findings regarding the financial activities of the Receivership Entities, and the
                      7 Ponzi-like nature, size, and scope of the scheme underlying their business. The
                      8 fundamental conclusions presented therein have not changed since their first
                      9 presentation; indeed, all subsequent document recovery and analysis have bolstered
                     10 the Receiver's conclusions.
                     11 IV.           THE RECEIVER IS PREPARED TO WIND DOWN AND CLOSE THE
                     12               RECEIVERSHIP.
                     13               The funds the Receiver presently holds are those remaining funds previously
                     14 set aside per Court order to cover the fees and expenses incurred by the Receiver
                     15 and the Receiver's counsel, and the additional funds received from recent tax
                     16 returns. Given that the Receiver has completed his tasks as defined by the
                     17 appointment orders, and the Receiver's determination that the costs of continuing the
                     18 present receivership now outweigh any potential benefit, the Receiver respectfully
                     19 submits that it is now appropriate to wind-down the affairs of the Receivership
                     20 Entities, establish an reasonable reserve, and make a final distribution to investors
                     21 and creditors with allowed claims on the same pro rata basis as previously approved
                     22 by this Court.
                     23               The only remaining uncompleted tasks in this matter are all administrative,
                     24 and relate exclusively to the wind-down and termination of the receivership case.
                     25 To that end, the Receiver anticipates that this Report will represent the Receiver's
                     26 final report to the Court. In addition to this Report, the Receiver has concurrently
                     27 submitted the Wind-Down Motion, along with his and his Professionals' Final Fee
                     28
       LAW OFFICES
Allen Matkins Leck Gamble                                                                    Case No. CV 13-7553-JAK (SSx)
   Mallory & Natsis LLP                                                               FINAL REPORT AND ACCOUNTING OF
                            1132914.07/LA                                                                       RECEIVER
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                      1 Application, and a Memorandum of Points and Authorities and Declaration in
                      2 support thereof.
                      3 V.            CONCLUSION.
                      4               Based on the Receiver's investigation and findings as described above, the
                      5 Receiver requests that the Court approve this Final Report and the final accounting
                      6 attached hereto, and accept his findings and conclusions as presented herein. The
                      7 Receiver further respectfully requests that this Court accept this report as his final
                      8 report, and enter an order granting the relief requested in the concurrently filed
                      9 Wind-Down Motion.
                     10
                     11 Dated: April 22, 2019                            Respectfully submitted,
                     12                                                  ALLEN MATKINS LECK GAMBLE
                                                                          MALLORY & NATSIS LLP
                     13                                                  DAVID R. ZARO
                                                                         JOSHUA A. DEL CASTILLO
                     14                                                  TIM C. HSU
                     15
                                                                         By:        /s/ Tim C. Hsu
                     16                                                        TIM C. HSU
                                                                               Attorneys for Receiver
                     17                                                        DAVID STAPLETON, Receiver for
                                                                               VELOCITY INVESTMENT GROUP,
                     18                                                        INC.
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